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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

RENETRICE R. PIERRE, individually and                      )
on behalf of others similarly situated,                    )
                       Plaintiff,                          )       No. 16 C 2895
                                                           )
        v.                                                 )       Judge Leinenweber
                                                           )
MIDLAND CREDIT MANAGEMENT, INC.,                           )       Magistrate Valdez
a Kansas corporation,                                      )
                      Defendant.                           )

                        PLAINTIFF’S REPLY IN SUPPORT OF
                  HER SECOND MOTION FOR CLASS CERTIFICATION 1




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  In its response, Defendant raises the specter of Plaintiff not having Article III standing, though Defendant
has not moved to dismiss the case, instead raising it as a defense to class certification. See Defendant’s
Opposition to Plaintiff’s Second Motion for Class Certification (“Response”) [DE 46], at pp. 17-18
(“Plaintiff may well lack standing…. The Seventh Circuit’s recent Meyers decision makes this issue a
required threshold determination to be made by this Court prior to class certification.”). Plaintiff has
standing. See e.g., Paz v. Portfolio Recovery Associates, LLC, no. 15 C 5073, 2016 WL 6833932, at *2-3
(N.D. Ill. Nov. 21, 2016) (rejecting Article III argument raised by Defendant’s counsel in another case and
granting summary judgment to plaintiff); see also Long v. Fenton & McGarvey Law Firm P.S.C., no. 1:15-
cv-01924-LJM-DKL, 2016 WL 7179367, at *3 (S.D. Ind. Dec. 9, 2016). If the Court has any concern about
Plaintiff’s standing, Plaintiff agrees that this Court must determine standing prior to class certification.
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                                             Introduction

        Defendant Midland Credit Management, Inc.’s (“Defendant”) certainly took a kitchen sink

approach to opposing Plaintiff Renetrice R. Pierre’s (“Plaintiff”) Second Motion for Class

Certification [DE 31] (“Motion”), but it rests upon arguments that are unsupported by law and/or

fact or that have been rejected by several courts. For example, Defendant argues that many class

members are subject to mandatory arbitration, including “sample” unauthenticated account

agreements, but it fails to tie any documents to itself (as opposed to a sister entity), Plaintiff or any

class member. Furthermore, the samples are dated outside the relevant time frame.

        Defendant’s claim that the proposed class definition is drastically different than it was at

the beginning of the case is remarkable, because Defendant itself provided the definition in

discovery responses and attested that it covered the very people Plaintiff has sought to represent

since the inception of this case.

        Plaintiff has submitted actual support for its Motion, primarily composed of Defendant’s

own testimony and discovery responses. Most importantly, the proposed class is comprised of

68,754 people, already identified by Defendant, using an objective definition, who got an identical

letter from Defendant. Because the case is premised on identical representations by Defendant,

and any potential liability arises solely from the identical letters, Plaintiff’s claim is typical of, and

in common with, class claims. Undoubtedly, common issues predominate because all issues arise

from an identical letter, and a determination of whether Defendant violated the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), will apply universally to all class

members. Accordingly, this Court should certify the proposed class as requested.




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                                          Legal Discussion

I.      PLAINTIFF OBJECTIVELY MEETS ALL REQUIREMENTS OF RULE 23.

        Defendant raises issues to “muddy the waters” and hope something sticks, and Plaintiff

will address those unsupported and rejected arguments below, but the starting point is that Plaintiff

objectively meets all Rule 23(b)(3) class certification requirements.

        According to Defendant itself, Defendant sent an identical letter with the allegedly-

violating content to Plaintiff and 68,754 people in Illinois. See Deposition of Shanna Carson,

Defendant’s Rule 30(b)(6) designee, (“30(b)(6) Dep.”), Exhibit A hereto, at 90:6-9, 16-20; 93:7-

11. Disposition of Plaintiff’s claims will apply universally to all class members, because they all

arise out of that letter. Regardless of the merits, Plaintiff and each class member have identical

claims premised on the uniform conduct of Defendant. As such, this Court should certify the

proposed class. 2

II.     PLAINTIFF DID NOT ELIMINATE THE CLASS BY AMENDING HER
        COMPLAINT OR THE CLASS DEFINITION.

        The proposed class has always included the same 68,754 people, but Plaintiff modified the

class definition to reflect Defendant’s description of those people. Focusing on the use of different

words to describe the same people, Defendants parlays its own wordsmithing into various

arguments, the crux of which is that the change amounts to a whole new claim that is now barred

by the statute of limitations. See Response, at pp. 8, 13.

        Fortunately, this Court need only review one of its own decisions to reject the argument

and virtually all others raised by Defendant. In Pawelczak v. Financial Recovery Services, Inc.,



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 In Nepomuceno v. Midland Credit Management, Inc., no. 14-05719-SDW-SCM, 2016 WL 3392299, at
*4, 5 (D.N.J. June 13, 2016), in certifying a class, the court rejected Defendant’s same arguments raised
here, including its ascertainability and arbitration arguments).
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286 F.R.D. 381 (N.D. Ill. 2012) (Leinenweber, J.), the defendant, represented by Defendant’s

attorney here, opposed class certification on many of the same grounds raised here, all of which

this Court rightly rejected. In particular, this Court rejected an argument that an amendment,

premised on an identical FDCPA collection call, did not relate back to the original filing, which

would eliminate the class claims as being beyond the one year FDCPA statute of limitations). Id.

at 388 (citing Selburg v. Virtuoso Sourcing Group, LLC, 2012 WL 4514152, at *4-6 (S.D. Ind.

Sept. 29, 2012), in which the court held that amending a complaint to add class allegations,

premised on the same debt collection letter as the plaintiff received but were not originally

included, related back to the original filing).

       A.      Defendant Defined The Class And Has Always Known Who The Class
               Members Are.

       “An amendment to a pleading relates back to the date of the original pleading when…the

amendment asserts a claim or defense that arose out of the conduct, transaction, or occurrence set

out—or attempted to be set out—in the original pleading.” Fed. R. Civ. P. 15(c)(1). The critical

inquiry is “whether the opposing party has been put on notice about the claim or defense raised in

the amended pleading.” Guerrero v. RJM Acquisitions LLC, 499 F.3d 926, 933 (9th Cir. 2007);

cf. Knudsen v. Liberty Mut. Ins. Co., 435 F.3d 755, 758 (7th Cir. 2006) (adding a novel claim to

an existing case will not relate back). A statute of limitations will be tolled when commencement

of a class action “notifies the defendants not only of the substantive claims being brought against

them, but also of the number and generic identities of the potential plaintiffs who may participate

in the judgment.” American Pipe & Const. Co. v. Utah, 414 U.S. 538, 555 (1974).

       Defendant argues that the currently-proposed class definition diverges so much from the

original Complaint that it cannot relate back to the filing of this case. Therefore, Defendant argues,


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many class members’ claims are time-barred. See Response, at pp. 8, 13. Defendant’s argument

is, charitably, disingenuous.     As evidenced by Defendant’s own discovery responses and

deposition testimony, the current definition encompasses exactly the class members as did the

original definition.

        The original definition was as follows:

                All persons with Illinois addresses to whom Midland Credit Management,
                Inc. sent a letter seeking to collect a time-barred debt that failed to disclose
                that the alleged debtor could not be sued for the alleged debt, failed to
                disclose that even a partial payment would revive the ability to sue on the
                alleged debt and failed to disclose that the alleged debtor had the option not
                to pay the alleged debt.

See Complaint [DE 1], at ¶ 21.

        The Amended Complaint included the following definition:

                All persons with Illinois addresses to whom Midland Credit Management,
                Inc. sent a letter seeking to collect a time-barred debt that failed to disclose
                that the alleged debtor could not be sued for the alleged debt, failed to
                disclose that even a partial payment would revive the ability to sue on the
                alleged debt, failed to disclose that the alleged debtor had the option not to
                pay the alleged debt and failed to disclose that the letter was from a debt
                collector.

See Amended Complaint [DE 20], at ¶ 19.

        In response to an interrogatory requesting that Defendant

                State the number of Letters You sent to putative class members (as defined
                in paragraphs 19 of the Amended Complaint) from March 7, 2015 through
                March 7, 2016[,]

Defendant answered as follows:

                Defendant states that it estimates that between March 7, 2015, and March
                7, 2016, it sent approximately 68,754 letters to persons with Illinois
                addresses which contained the following statement: “The law limits how
                long you can be sued on a debt. Because of the age of your debt, we will
                not sue you for it, we will not report it to any credit reporting agency, and
                payment or non-payment will not affect your credit score.”

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See Defendant’s Answers to Plaintiff’s Second Set of Interrogatories (Exhibit B to Motion), at no.

21. Notwithstanding its argument that the definitions “diverge so much that the putative members

of the SAC class definition are entirely different from the putative class members of the original

Complaint or FAC class definitions,” see Response, at p. 8, Defendant itself acknowledged that

the currently-proposed definition covers the exact same 68,754 people, well more than the zero

Defendant claims. If the definitions “diverge entirely,” then Defendant answered the interrogatory

falsely and should not be rewarded for doing so. Plaintiff appropriately modified the class

definition according to Defendant’s own answer clearly suggesting that the definitions were

synonymous.

       In line with Rule 15(c)(1)(B), regardless of which iteration of complaint, Plaintiff’s and

the class members’ claims “arose out of the conduct, transaction or occurrence set out—or

attempted to be set out—in the original pleading.” A review of the allegations, aside from the

class definition, demonstrates that the claims all arise from an identical letter. See Complaint [DE

1], at ¶¶ 8, 11, 12, 13, 14, 15, 16, 24, 27, 28, 29; see also Second Amended Complaint [DE 40], at

¶¶ 8, 11, 12, 13, 14, 15, 16, 21, 25, 27, 29.

       B.      Defendant’s Fail-Safe Argument Is Baseless.

       A fail-safe class is “one that is defined so that whether a person qualifies as a member

depends on whether the person has a valid claim.” Messner v. Northshore Univ. HealthSystem,

669 F.3d 802, 825 (7th Cir. 2012). As a corollary argument, Defendant contends that Plaintiff’s

original class definition was “fail-safe,” but because the current one is not demonstrates the

“divergence” of class definitions. See Response, at pp. 10-11.




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         Defendant is wrong. The original definition references a lack of disclosures, see Complaint

[DE 1], at ¶ 21, but a merits determination is not required to ascertain members, because a trier of

fact may determine that none of those disclosures was required. As such, the people who did not

get the disclosures (the 68,754 people Defendant acknowledges) may win or lose. 3

         Regardless, despite citing Messner, Defendant omitted a critical passage from the case:

                 Defining a class so as to avoid, on one hand, being over-inclusive and, on
                 the other hand, the fail-safe problem is more of an art than a science. Either
                 problem can and often should be solved by refining the class definition
                 rather than by flatly denying class certification on that basis.

669 F.3d at 825. As evidenced by the pleading evolution here, all Plaintiff did was refine the class

definition to mimic Defendant’s definition. Therefore, even if the original definition were fail-

safe, class certification is still appropriate.

III.     RANDOM ARBITRATION PROVISIONS HAVE NO IMPACT ON THIS CASE.

         “A class is identifiable if class members can be ascertained based on objective criteria.”

Pawelczak, 286 F.R.D. at 385. Defendant points to numerous arbitration provisions to argue that

the class is not ascertainable and that individual issues predominate over common issues. See

Response, at pp. 5-7, 18, Exhibit B. Defendant’s argument is a red herring and does not preclude

certification.

         A.      The Class Is Objectively Ascertainable.

         Plaintiff’s proposed class definition is as follows:



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  Defendant has improperly made merits arguments that are not necessary to assess class certification.
Regardless, several courts have rejected Defendant’s merits arguments. See e.g., Smothers v. Midland
Credit Management, Inc., no. 16-2202-CM, 2016 WL 7485686 (D. Kan. Dec. 29, 2016) (granting summary
judgment for plaintiff based on same text at issue here); Baez v. LTD Fin. Servs., L.P., no. 6:15-cv-1043-
Orl-40TBS, 2017 WL 397537 (M.D. Fla. Jan. 30, 2017) (denying defense summary judgment based on
virtually identical text at issue here). If this Court deems a merits analysis necessary, Plaintiff requests the
opportunity to supplement the record.
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               All persons with Illinois addresses to whom Midland Credit Management,
               Inc. sent, from March 7, 2015 through March 7, 2016, a letter containing
               the following statement: “The law limits how long you can be sued on a
               debt. Because of the age of your debt, we will not sue you for it, we will
               not report it to any credit reporting agency, and payment or non-payment
               will not affect your credit score.”

See Motion, at p. 3.

       Defendant attested as follows:

               Defendant states that it estimates that between March 7, 2015, and March
               7, 2016, it sent approximately 68,754 letters to persons with Illinois
               addresses which contained the following statement: “The law limits how
               long you can be sued on a debt. Because of the age of your debt, we will
               not sue you for it, we will not report it to any credit reporting agency, and
               payment or non-payment will not affect your credit score.”

See Motion, at Exhibit B, ¶ 21 [DE 31-2]. In its 30(b)(6) deposition, Defendant clarified that it

sent letters to 68,754 people, not that it sent 68,754 letters. See 30(b)(6) Dep., at 93:7-11.

       In any event, we can ascertain who class members are by looking them up in Defendant’s

computer system. Id. at 93:16-23; 94:5-9 (acknowledging that Defendant has contact information,

which gets updated, for each letter recipient). See Blandina v. Midland Funding, LLC, 303 F.R.D.

245, 250 (E.D. Pa.) (certifying class against Defendant’s sister company, rejecting ascertainability

argument because the defendant acknowledged in discovery that it can, and did, identify more than

68,000 class members by reviewing its records); see also Nepomuceno, 2016 WL 3392299, at *3

(class ascertainable because definition uses objective criteria and members can be identified

through Defendant’s records).




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       B.      Referenced Arbitration Provisions Are Irrelevant. 4

       Defendant argues that some class members may be subject to mandatory arbitration, so

they may not be class members. For several, independent reasons, Defendants argument fails.

               1.      This Court cannot consider the alleged arbitration provisions.

       Notwithstanding that it submitted the affidavit of its 30(b)(6) witness to attest vaguely that

some class members incurred debt from certain lenders (see Declaration of Shanna Carson

(“Carson Dec.”), Exhibit A [DE 46-1] to the Response, at ¶7), Defendant did not provide any

evidentiary foundation for the alleged arbitration provisions on which it relies. Instead, it suggests

that this Court may take judicial notice of the agreements because they are published on a

government website. See Response, at p. 6. Defendant does not provide any authority for

assuming the authenticity of non-governmental documents appearing on a government website.

       The cases cited by Defendant do not support its argument. In Qui Yen Chen v. Holder, 715

F.3d 207, 212 (7th Cir. 2013), the court noted that documents posted on government websites can

be presumptively authentic if government sponsorship can be verified by visiting the website itself.

In that case, Judge Posner referred to a Chinese government document on “The Chinese Central

Government’s Official Web Portal.” Id. In Gent v. CUNA Mut. Ins. Society, 611 F.3d 79, 84, n.

5 (1st Cir. 2010), the court took judicial notice of the cause of lyme disease, which was published

by, and on appeared on the website of, the Centers for Disease Control and Prevention. In Denius

v. Dunlap, 330 F.3d 919, 926 (7th Cir. 2003), the court took judicial notice of medical records of

military personnel appearing on the website of the National Personnel Records Center.



4
 Defendant conflates ascertainability (which focuses on whether class members can be identified without
mini-trials) and predominance (which focuses on whether essential elements of the class’s claims can be
proven with common evidence). Nepomuceno, 2016 WL 3392299, at *3. Nonetheless, Plaintiff will
address the argument here, because it is an overriding theme of Defendant’s Response.
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       In each case, the records at issue were government records published by, and appearing on

the websites of, government agencies. They were not the alleged documents of private entities

that incidentally showed up on government websites. The mere appearance of the alleged

arbitration provisions on a government website does not authenticate them. The court in Felty v.

Driver Solutions, LLC, no. 13 C 2818, 2013 WL 5835712, at *3 (N.D. Ill. Oct. 30, 2013), rejected

the same argument raised by Defendant’s attorney on behalf of another client, refusing to take

judicial notice of the content in court papers. The publisher must authenticate documents, and

Defendant has given no indication that Chase Bank, Citibank, GE Money Bank, World Financial

Capital Bank and WebBank are unavailable to authenticate their alleged documents. This Court

should reject Defendant’s request for judicial notice and disregard and strike Exhibit B to the

Response. See Messner, 669 F.3d at 814 (“The fact that a defendant is not required to present

evidence to defeat class certification does not give that defendant license to offer irrelevant and

unreliable evidence.”).

               2.      The accuracy of the arbitration provisions can be reasonably
                       questioned and their relevance can be definitively rejected.

       Fed. R. Evid. 201, which allows for judicial notice, applies only when a fact is “not subject

to reasonable dispute in that it is…capable of accurate and ready determination by resort to sources

whose accuracy cannot reasonably be questioned.” Denius, 330 F.3d at 926. Here, the accuracy

can reasonably be questioned.

       Aside from a lack of authentication, the documents are irrelevant. Defendant boldly states

that

               The class Plaintiff seeks to certify is not ascertainable as many of the class
               members are subject to enforceable arbitration clauses and class waivers
               contained in the terms and conditions of their agreements with the original
               creditors of their debts.

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See Response, at p. 6. Conspicuously absent following that statement is a citation to anything.

Not a scintilla of evidence ties Plaintiff or a class member to any arbitration provision. 5 Defendant

points to unauthenticated documents with arbitration provisions, but even if this Court were to

consider them, what do they have to do with this case? Two of the five are undated, and the other

three are not tied to a single one of the 68,754 putative class members. Ms. Carson attests that

“[a]pproximately one-third of the proposed class…includes debtors who incurred debt from Chase

Bank, Citi Bank, GE Bank, World Financial Network National.” See Carson Dec., at ¶ 7. So

what? Are they subject to an arbitration agreement? Are they subject to these arbitration

agreements? 6 In Danley v. Encore Capital Group, Inc., no. 15-CV-11535, 2015 WL 7733450, at

*3 (E.D. Mich. Dec. 1, 2015), the court rejected Defendant’s same argument and tactic, when

Defendant submitted sample Citibank account agreements with arbitration provisions, finding that

               [t]he court is not in a position to analyze the terms of any arbitration
               agreement or class action waiver until it knows it is looking at the relevant
               agreements. Unauthenticated sample credit card agreements, one dated
               many years after the credit card was first used and therefore accepted by
               plaintiff is not the type of evidence the court can use to support an order
               compelling arbitration.

       Regardless, the referenced documents cannot be relevant. The proposed class is comprised

entirely of people Midland Funding LLC (“Midland Funding”) (the owner of the debt that

Defendant attempts to collect) cannot sue because the statute of limitations has expired. The

relevant statute of limitations is five years. 735 ILCS 5/13-205. Because the class period starts

on March 7, 2015, class members must have already defaulted by March 7, 2010 to be included in


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 Defendant has nothing tying Plaintiff to an arbitration provision. See 30(b)(6) Dep., at 104:17.
6
 Ms. Carson references Chase Bank as part of the “one-third” but Defendant did not even bother to attach
an alleged Chase Bank account agreement. Moreover, the World Financial Capital Bank document
expressly states that it is an “offer,” not an account agreement. See Response, at Ex. B.
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the class. As such, they must have been covered by account agreements that predated March 7,

2010 (probably significantly, since they would have had to sign up, get credit, default, ignore

collection efforts, have their debt sold to Midland Funding and receive the operative dunning letter

by that date). None of the alleged account agreements is dated prior to March 7, 2010.

        Therefore, because none of the documents relates to a class member, and this Court should

reject Defendant’s argument.

                3.      These arbitration provisions do not apply to Defendant.

        Even assuming arguendo that the referenced account agreements are authentic, and that

this Court can consider them, and that this Court does consider them, and that they relate to any of

the class members (none of which Defendant has shown), they have nothing to do with Defendant

and are, therefore, irrelevant.

        Notwithstanding Defendant’s argument that it “is routinely successful in its motions to

compel arbitration relying upon card member agreements,” see Response, at pp. 6-7, Defendant

mischaracterizes the cases. In each cited case, Midland Funding, the alleged owner of the debt,

was a defendant. As the owner of the debt, Midland Funding is a party to the account agreements

and, if an account agreement includes an arbitration provision, Midland Funding can invoke that

provision. Therefore, Midland Funding successfully compelled arbitration, not Defendant.

        Here, Plaintiff sued Defendant. Plaintiff did not sue Midland Funding. In fact, Midland

Funding is not even mentioned in the letter at issue. See Second Amended Complaint, Ex. 1.

Plaintiff did not sue on any account agreement. Plaintiff did not sue on any issue related to an

account agreement. This lawsuit is only about Defendant’s alleged debt collection violations.

Defendant seeks to defeat class certification by invoking contractual provisions to which it is not

a party. Presumably, a lot of defendants would like to escape liability by merely referencing some

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unrelated agreement to which a different company is a party, but Defendant offers no authority for

allowing it here. Defendant is a separate legal entity, and it must be treated as such. 7

                                        *        *        *

        Though Defendant argues that Plaintiff has failed to identify “a practical or efficient

method to ascertain which individuals are in the class without requiring the Court to conduct

individualized inquiries,” see Response, at p. 7, Plaintiff suggests that the parties and the Court

look at Defendant’s list of 68,754 people who got the identical letter to the one attached as Exhibit

1 to the Second Amended Complaint. Those are the class members according to Defendant.

IV.     JUST BECAUSE SHE DID NOT PAY DEFENDANT, PLAINTIFF CAN STILL
        REPRESENT THE CLASS.

        Without citation to authority, Defendant argues that Plaintiff is not a typical class member

because she said she was not seeking actual damages for herself but seeks them for the class, see

Response, at p. 16, and that this “clearly creates a situation where individual issues

predominate….”. Id. at p. 19. That argument, made by Defendant’s same attorney, was rejected.

In Magee v. Portfolio Recovery Associates, LLC, no. 12 C 1624, 2015 WL 535859, at *3 (N.D. Ill.

Feb. 5, 2015), the defendant argued that the plaintiff’s claims were not typical because she never

paid the debt collector but sought actual damages for the class, finding that “the fact that damages

are not identical across all class members should not preclude class certification.” Id. at *4

(quoting Butler v. Sears, Roebuck & Co., 727 F.3d 796, 801 (7th Cir. 213)). “It is well established

that the presence of individualized questions regarding damages does not prevent certification

under Rule 23(b)(3).” Messner, 669 F.3d at 815; see also Mullins v. Direct Digital, LLC, 795 F.3d


7
 Defendant also argues that individual issues predominate due to various questions about which contract
applies to each class member. See Response, at p. 18. Like the inapplicable arbitration provisions,
Defendant provides no basis for considering any contract here, not only because it cites no legal authority,
but also because it identifies no contract to which it or any class member is a party.
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654, 671 (7th Cir. 2015) (“the need for individual damages determinations at this later stage of the

litigation does not itself justify the denial of certification.”).

        “The typicality requirement may be satisfied even if there are factual distinctions between

the claims of the named plaintiffs and those of other class members. Thus, similarity of legal

theory may control even in the face of differences of fact.” Pawelczak, 286 F.R.D. at 386 (quoting

De La Fuente v. Stokely-Van Camp, Inc., 713 F.2d 225, 232 (7th Cir. 1983)). Here, the legal theory

and the underling fact (receipt of identical letter) are identical, and thus typical, as between Plaintiff

and the class. Id.

V.      INDIVIDUAL SUITS ARE NOT SUPERIOR.

        As this Court recently found in certifying a FDCPA class,

                The FDCPA permits individual plaintiffs to recover up to $1,000 in
                statutory damages. See 15 U.S.C. § 1692k. Thus, the potential recovery for
                an individual plaintiff is unlikely to provide sufficient incentive for
                individual members to bring their own claims. Moreover, courts have held
                that FDCPA class actions are usually superior for reasons of judicial
                economy.

Pawelczak, 286 F.R.D. at 387 (citation omitted).

        Defendant argues that this Court should deny certification because class recovery will be

de minimus, citing cases outside of this district. See Response, at p. 19. The failure to cite local

cases on this issue is no accident, though they exist, and they were argued by the same attorney

representing Defendant here. Plaintiff rejects the notion that class recovery will be de minimus,

particularly since she seeks class recovery of actual damages. A plaintiff seeking actual damages

further diminishes a defendant’s argument that class recovery is de minimus. Magee, 2015 WL

535859, at *5. Regardless, de minimus recovery is not a bar to certification, as the policy at the

core of class actions is aggregating small individual claims that do not provide an incentive for


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individual suits. Mace v. Van Ru Credit Corp., 109 F.3d 338, 344 (7th Cir. 1997). In Rawson v.

Source Receivables Management, LLC, 289 F.R.D. 267, 270-71 (N.D. Ill. 2013), the court also

rejected the de minimus argument of Defendant’s counsel in certifying a class, holding that

               Even assuming that class members could expect no more than a de minimus
               recovery, other interests are at stake. As I have noted in the past, “if class
               actions can be said to have a main point, it is to allow the aggregation of
               many small claims that would otherwise not be worth bringing, and thus to
               help deter lawless defendants from committing piecemeal highway robbery,
               a nickel here and a nickel there, that adds up to real money, but which would
               not be worth the while of an individual plaintiff to sue on…. While it is
               true that the statute allows for individual recoveries of up to $1,000, “this
               assumes that the plaintiff will be aware of her rights, willing to subject
               herself to all the burden of suing and able to find an attorney willing to take
               her case….”

(citations and quotations omitted). Additionally, “[e]ven where recovery is de minimus, there is

value to certifying a class to address potentially unlawful behavior that would not otherwise be

addressed because the barriers to bringing suit are too high.’” Spiegel v. Ashwood Financial, Inc.,

no. 1:16-cv-01998-LJM-DML, 2017 WL 443168, at *3 (S.D. Ind. Feb. 2, 2017) (quoting Fosnight

v. LVNV Funding, LLC, 310 F.R.D. 389, 394 (S.D. Ind. 2015)); see also Gold v. Midland Credit

Management, Inc., 306 F.R.D. 623, 633-34 (N.D. Cal. 2014) (given broad remedial purpose of

FDCPA, predominance factor satisfied where statutory damages are sought to deter debt collectors

from engaging in prohibited behavior).

       Defendant also misrepresents the impact of class administration costs. Again, it cites no

authority for its position, but it references two class administration estimates and says the cost will

reduce class recovery. See Response, at p. 20. As with the alleged account agreements, this Court

should disregard the estimates as inadmissible. If the Court considers them, it should also be aware

that the estimates have no bearing on this case, because, untested as they are, they are for class

settlement administration. See Response, at Exhibit D. They include significant charges for

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managing a claims process, processing claims and distributing payments, none of which is relevant

here. Plaintiff and Defendant have not settled this case.

                                           Conclusion

       For the foregoing reasons, Plaintiff Renetrice R. Pierre requests that this Court certify the

following class set forth in the Motion.


                                                     RENETRICE R. PIERRE, Plaintiff

                                              By:    /s Paul F. Markoff
                                                     One of Plaintiff’s Attorneys

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                                CERTIFICATE OF SERVICE

I certify that I served a copy of this Plaintiff’s Reply in Support of Her Second Motion for Class
Certification on the following electronically by using the CM/ECF system on this 21st day of
March, 2017:


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                                                     s/ Paul F. Markoff
                                                     Paul F. Markoff




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